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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                              NORTHERN DISTRICT OF CALIFORNIA

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                                   7    IN RE: CATHODE RAY TUBE (CRT)                      MDL No. 1917
                                        ANTITRUST LITIGATION
                                   8                                                       Case No. C-07-5944 JST

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                                        This Order Relates To:                             ORDER REGARDING STATEMENT OF
                                  10                                                       SPECIAL MASTER RE
                                                                                           CASEAWNWHERE FILINGS
                                  11    ALL INDIRECT PURCHASER ACTIONS
                                  12
Northern District of California
 United States District Court




                                  13          On March 14, 2016, Special Master Martin Quinn filed a document entitled “Statement of

                                  14   Special Master Re Case Anywhere Filings Re Chunghwa Form of Notice.” ECF No. 4483. In it,

                                  15   the Special Master requests direction from the Court regarding two sets of documents: a Letter Re

                                  16   Chunghwa Notice Plan and Declaration of Joseph Fisher, filed by Lead Counsel on March 7,

                                  17   2016; and a Letter Re Chunghwa Notice Issue filed on March 10, 2016 by Messrs. Cooper and

                                  18   Scarpulla. He asks whether these documents should be placed on the ECF docket for this Court’s

                                  19   consideration, or whether he should first prepare his own Report and Recommendation. Id.

                                  20          The Court concludes that judicial efficiency and the limited time before the hearing on

                                  21   April 19, 2016 favor the Court reviewing these filings in the first instance. Therefore, the Court

                                  22   declines a further Report and Recommendation, VACATES the related portion of its prior order,

                                  23   see ECF No. 4452 at 1:18-21, and ORDERS that Special Master Quinn place the two filings onto

                                  24   ECF.

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                                   1          As the deadline for filings regarding the Chunghwa Notice Plan has now passed, no party

                                   2   or objector may file any additional materials on that topic without prior leave of Court.

                                   3          IT IS SO ORDERED.

                                   4   Dated: March 14, 2016
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                                                                                                     JON S. TIGAR
                                   6                                                           United States District Judge

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Northern District of California
 United States District Court




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